      Case 08-10753-CL7            Filed 03/19/09   Entered 03/20/09 12:56:44      Doc 29   Pg. 1 of 1


                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA

                                                Minute Order
Hearing Information:
                                                                                                              0.00
                    Debtor:   TESLA GRAY
              Case Number:    08-10753-LA11            Chapter: 11   INVOLUNTARY
      Date / Time / Room:     THURSDAY, MARCH 19, 2009 02:30 PM DEPARTMENT 2
       Bankruptcy Judge:      LOUISE DeCARL ADLER
        Courtroom Clerk:      KAREN FEARCE
          Reporter / ECR:     TRISH CALLIHAN

Matter:
              STATUS CONFERENCE ON INVOLUNTARY PETITION AND ANSWER (Fr 2/5)



Appearances:

        THOMAS NELSON, ATTORNEY FOR ALLEDGED TESLA GRAY
        MARK POPPETT, ATTORNEY FOR JOHN MONTGOMERY

Disposition:                                                                                    1.00

        Hearing Continued to 4/9 AT 2:30




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